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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 23-CV-20413-RAR

  UNITED STATES OF AMERICA,

           Plaintiff,

  v.

  ENGIN YESIL, et al.,

        Defendants.
  _____________________________________________________/

                           ORDER ON SETTLEMENT CONFERENCE

           THIS CAUSE comes before the Court upon the Minute Entry for Proceedings Held

   Before Magistrate Judge Jacqueline Becerra, [ECF No. 40], indicating that the parties have

   reached an agreement resolving this matter. Accordingly, the Court having carefully reviewed

   the file, and being otherwise fully advised, it is hereby

           ORDERED AND ADJUDGED as follows:

           1. The above-styled action shall remain administratively CLOSED without prejudice to

  the parties to file the appropriate dismissal documents within thirty (30) days of the date of this

  Order.

           2. Any pending motions are DENIED AS MOOT.

           DONE AND ORDERED in Miami, Florida, this 26th day of October, 2023.



                                                        _________________________________
                                                        RODOLFO A. RUIZ II
                                                        UNITED STATES DISTRICT JUDGE
